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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
AFM/EHS/AA                                          271 Cadman Plaza East
F. #2022R00315                                      Brooklyn, New York 11201



                                                    July 2, 2024

By Email and ECF

The Honorable Frederic Block
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

               Re:    United States v. Nicholas Ceraolo, et al.
                      Criminal Docket No. 23-236 (FB)

Dear Judge Block:

               The government respectfully moves the Court to accept the defendant’s plea in
the above-captioned case. On May 30, 2024, the defendant Nicholas Ceraolo pleaded guilty
before the Honorable Marcia M. Henry, United States Magistrate Judge, to Counts One and
Two of the Indictment. See generally Plea Tr., attached hereto. The defendant allocuted
that he joined a cybercrime group, Tr. 32, that he knew that a member of the group obtained
and “used the username and password belonging to a law enforcement officer without that
officer’s knowledge or consent to gain access to a federal government database,” and that he
“shared the stolen credentials … with others” in the cybercrime group, Tr. 33. Judge Henry
found that the defendant was “competent,” “acting voluntarily,” that “he fully understands
his rights and the potential consequences of his guilty plea,” and that there “is a factual basis
for the plea.” Tr. 34. Finally, Judge Henry “recommend[ed] that the Court accept the
defendant’s plea of guilty to Counts One and Two of the indictment.” Tr. 34.
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              Accordingly, by this letter, the government respectfully requests that the Court
accept the defendant’s guilty plea to Counts One and Two of the Indictment.

                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney

                                           By:              /s/
                                                  Alexander F. Mindlin
                                                  Ellen H. Sise
                                                  Adam Amir
                                                  Assistant U.S. Attorney
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Enclosures

cc:    Clerk of Court (by ECF) (FB)
       Counsel of Record (by ECF)
